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                                  Exhibit B
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                                           &+,5/8087</7<;

(HNLI>O=NCIH                                      ";H-IH =CNCT?HM @@?=N$F?=NCIH
                                                       .ON=IG?M6?M                        
2B?1N;E?M                                   
                                                       1?H;N?#CMNLC=N           
1OGG;LSI@%CH>CHAM                    
                                                       'IOM?#CMNLC=N           
%?FIHC?MOJIH%?FIHC?M                          
                                                       .NB?L"FIM?0;=?M          
2?LLS,= OFC@@?(M5ILECHA A;CHMN
$F?=NCIH(HN?ALCNS                                  5BI(MNI!F;G?@IL-IH =CNCT?H
                                                       0?ACMNL;NCIH;H>4INCHA             
1B;LCHANB?!F;G?#?@?=NMCHNB?
-;NCIH;F4IN?L0?ACMNL;NCIH =N                     4CLACHC;M%ONOL?5BS =NCIH(M
                                                       -??>?>0CABN-IQ                     
2B?"IP?L OJI@ FC?H0?ACMNL;NCIH
;H>4INCHA                                          4CLACHC;M-?RN&IP?LHIL   

 F?R;H>LC;                                  'IOM?I@#?F?A;N?M         

2B?"IP?L OJ&I?M1N;N?QC>?                 3HCN?>1N;N?M1?H;N?       

2B?$R=OM?M@IL'C>CHA(H@ILG;NCIHIH         +I=;F$F?=NCIHM            
-IH =CNCT?HM                             
                                                       0?=IGG?H>;NCIHM;H>1IFONCIHM        
2B?$RN?HNI@-IH =CNCT?H0?ACMNL;NCIH
CH4CLACHC;                                  "IH=FOMCIH                            

 FC?H0?ACMNL;NCIH                        

 FC?H4INCHA                              
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7<:8.=-<387
(H.=NI<?L FIIECHA;N>;N;@LIGIHFS?CABN             2BCML?JILN>?N;CFM@ILJIFC=SG;E?LM ?F?=NCIH
4CLACHC;=IOHNC?M Q?OH=IP?L?>JLII@NB;NF;LA?             I@@C=C;FM;H>NB?A?H?L;FJO<FC=NB?M=IJ?I@NB?
HOG<?LMI@CH?FCAC<F?;FC?HM;L?L?ACMN?LCHANIPIN?         JLI<F?G NB?J;LNC=OF;L>?N;CFM@IL?;=B=IOHNS;H>
;H>=;MNCHA<;FFINM.OLCHP?MNCA;NCIHL?P?;F?>            NB?I<MNLO=NCIH<SAIP?LHG?HNI@@C=C;FMCH
NB;NCHNB?M??CABN4CLACHC;FI=;FCNC?MGIL?NB;H            I<N;CHCHANBCM>;N;
 HIH =CNCT?HMB;>L?=?HNFS<??HL?GIP?>
@LIGNB?PIN?LLIFFM(HNBCMMG;FFM;GJF? H?;LFS       /IFC=SG;E?LMB;P?;>O;F=B;FF?HA?X@CRCHANB?
P?LC@C?><;FFINMQ?L?=;MNJLCILNII@@C=C;FL?GIP;F        OH>?LFSCHAJLI<F?GI@HIH =CNCT?HM?;MCFS
$;=BIH?I@NB?GCMFCE?FS;@?FIHS                        L?ACMN?LCHANIPIN?;MQ?FF;MNB?MNO<<ILH
                                                             N?H>?H=SI@MIG??F?=NCIHI@@C=C;FMNIBC>?;H>
                                                             ?R=OM?NBCM=CL=OGMN;H=?


                                                                             1CH=?IOLF;MNCHP?MNCA;NCIH NB?
                                                                             HOG<?LI@L?ACMNL;HNML?GIP?>
                                                                             @LIG PIN?L LIFFM @IL =CNCT?HMBCJ
                                                                             JLI<F?GMAL?QNIIP?L .@
                                                                             NB?M? CFF?A;F L?ACMNL;HNM   
                                                                             =;MN H?;LFS   <;FFINM CH
                                                                             ?F?=NCIHM>;NCHA<;=ENI         


                                                             0?G?G<?L NB?  JFOML?ACMNL;HNML?GIP?>@IL
                                                             =CNCT?HMBCJJLI<F?GM;L?IHFSNBIM?QBIQ?L?
                                                             =;OABN2B?SQ?L?=;OABN<SB;JJ?HMN;H=?
                                                             OMO;FFS<SN?FFCHANB?GINILP?BC=F?;A?H=SNB?S
                                                             Q?L?HIN;=CNCT?H;@N?LJL?PCIOMFSN?FFCHANB?
                                                             ;A?H=SNB?SQ?L?;=CNCT?H(NCMHINOHL?;MIH;<F?
                                                             NI=IH=FO>?NB;NNB?@OFF ;H>OHEHIQH ?RN?HNI@
                                                             HIH =CNCT?HML?ACMN?L?>NIPIN?@;L?R=??>MNB?
                                                               JFOMQBIQ?L?L?GIP?>

                                                             2BCMCM;H?MJ?=C;FFSMIOH>=IH=FOMCIHQB?HSIO
                                                             =IHMC>?LNB;NPCLNO;FFSHINBCHACM<?CHA>IH?NI
                                                             >?N?=NHIH =CNCT?HMIHNB?PIN?LLIFFMCH4CLACHC;
                                                             5ILM? NB?#?J;LNG?HNI@$F?=NCIHM;H>MIG?
2BCML?JILN>?N;CFMNB?MN;N?QC>?JLI<F?GI@                 FI=;F?F?=NCIHI@@C=C;FM>C>?P?LSNBCHANB?S=IOF>NI
L?ACMN?L?>PIN?LMQCNB=CNCT?HMBCJJLI<F?GMCH               BC>?NB?CH@ILG;NCIH ;MQ?MB;FFM??<?FIQ.HFS
4CLACHC;                                                 ;@N?LNB?/O<FC=(HN?L?MN+?A;F%IOH>;NCIH@CF?>
                                                             GOFNCJF?F;QMOCNMCH@?>?L;F=IOLN >C>MN;N?I@@C=C;FM
                                                             L?F?HN;H>JLIPC>?NB?PIN?LFCMNG;CHN?H;H=?
                                                             L?=IL>M

                                                               FFI@NB?L;Q>;N;;H>L?=IL>MI<N;CH?>CHIOL
                                                             L?M?;L=BCHNI;FC?HL?ACMNL;NCIH;H>PINCHA=;H<?
                                                             I<N;CH?>;N
                                                             BNNJMJO<FC=CHN?L?MNF?A;FILA;FC?H CHP;MCIH
                                                             PCLACHC;




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&2/%<+4/;                                                    %=66+:A8037.371;
"CNCT?HMBCJCMNB?GIMN@OH>;G?HN;F?F?G?HNI@                .<MNLO=NCIHCMNN;=NC=M<SFI=;F;H>MN;N??F?=NCIH
?FCAC<CFCNSNIPIN?CH G?LC=;H?F?=NCIHM$P?LSMN;N?        I@@C=C;FMFCGCN?>NB?M=IJ?I@NB?.=NI<?L
L?KOCL?MPIN?LMNI<?31=CNCT?HMNIPIN?CHMN;N?            FC?H(HP;MCIHL?JILNNIMCR=IOHNC?M;H>NQI=CNC?M
?F?=NCIHM2B?4CLACHC;"IHMNCNONCIH MJ?=C@C=;FFS          5?B;>;ME?>NB?4CLACHC;#?J;LNG?HNI@$F?=NCIHM
>?FCH?;N?MNB;NZ8?9;=BPIN?LMB;FF<?;=CNCT?HI@           @ILNB?@OFFFCMNI@L?ACMNL;HNML?GIP?>@IL=CNCT?HMBCJ
NB?3HCN?>1N;N?M[                                           JLI<F?GM<ONQ?>C>HINL?=?CP?CNOHNCFQ?<LIOABN
                                                              @?>?L;FF;QMOCNM;A;CHMNNQI4CLACHC;?F?=NCIH
2B?>?MCAHCMMCGJF?                                        I@@C=C;FM
                                %?>?L;FF;QG;E?MCN;
=LCG?@IL;H;FC?HNIL?ACMN?LNIPIN?ILNIPIN?CH;
@?>?L;F?F?=NCIH1CGJFSJON CNCM;@?FIHS@IL;
HIH =CNCT?HNIL?ACMN?L;H>NI=;MN;<;FFIN $;=B
NCG?MO=B;=LCG?CMJ?LJ?NL;N?> <S;==C>?HNIL                     
QCFF@OFFS ;=CNCT?HCM?@@?=NCP?FS>CM?H@L;H=BCM?>                                                               

2B?M;@?AO;L>MNIJL?P?HN;FC?HPIN?LL?ACMNL;NCIH
;L?@;CFCHA2B?%?>?L;F4IN?L0?ACMNL;NCIH%ILG
JOLJILNMNIJL?P?HN;FC?HM@LIGL?ACMN?LCHANIPIN?
!ONCNCM;HCH?@@?=NCP?BIHILMSMN?GOH>?LQBC=B
NB?;FC?HH??>G?L?FSFC?NIA?NIHNB?PIN?LLIFFM
4CLACHC;YM?F?=NCIHI@@C=C;FM=IOF>CGJF?G?HN
JLI=?>OL?MNIM;@?AO;L>NB?MSMN?G <ONB;P?HYN
@ILJ;LNCM;HL?;MIHM                                                           ,  

$P?HQILM? @?>?L;F;H>MN;N?F;Q?H@IL=?G?HN                     &*&&'
I@@C=C;FMXQBI;L??HNLOMN?>QCNBJLIM?=ONCHAHIH
=CNCT?HMQBIL?ACMN?L;H>PIN?;M;G?;HMNI>?N?L
INB?LM@LIG>ICHANB?M;G?X
                                                                                , 

                                                                  (*%(%
               $P?LSMN;N?L?KOCL?MPIN?LMNI
               <? 31 =CNCT?HM NI PIN? CH               (H4CLACHC; FCE?GIMNMN;N?M NB?L?CMHI@ILG;F
               MN;N??F?=NCIHM                               JLIAL;G@ILC>?HNC@SCHAHIH =CNCT?HL?ACMNL;HNM2B?
                                                              "IGGIHQ?;FNB@ILG?LFS;LL;HA?>NIOM?NB?
                                                              %?>?L;F1SMN?G;NC= FC?H4?LC@C=;NCIH@IL
                                                              $HNCNF?G?HNM 1 4$ >;N;<;M?NI>?N?=N;FC?HM 
(HJL;=NC=? HIH?I@NB?MI =;FF?>M;@?AO;L>M;L?
@OH=NCIHCHA=ILL?=NFS

                                                              1N;N??F?=NCIHI@@C=C;FM=IH=?>?NB;NGIMN
                                                              >CM=IP?LC?MI@HIH =CNCT?HMIHNB?L?ACMNL;NCIHLIFFM
                 2B?S;L?=;H=?FFCHAIONNB?P;FC>           ;L?;==C>?HN;FIL<S=B;H=? ==IL>CHANI
PIN?MI@ G?LC=;H=CNCT?HM%;=?>QCNBNBCMMN;LE             =IGGOHC=;NCIHML?=?CP?>@LIG$>A;L>I"ILN?M
L?;FCNS &IP?LHIL2?LLS,= OFC@@?B;MHINIHFS@;CF?>         NB?"IGGCMMCIH?LI@NB?4CLACHC;#?J;LNG?HNI@
NI;=N B?B;ML?J?;N?>FS<FI=E?>F?ACMF;NCIH                 $F?=NCIHM NB? HIH =CNCT?HML?GIP?>@LIGNB?
>?MCAH?>NIB?FJ@CRNB?M?JLI<F?GM                          PIN?LLIFFMCHL?=?HNS?;LMQ?L?>CM=IP?L?>IHFS
                                                              <?=;OM?NB?S                  NB?CLMN;NOM;M;HIH
                                                              =CNCT?HNI"IGGIHQ?;FNBI@@C=C;FM




                                                          
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                                                                /5873/;=987/5873/;
(H?MM?H=? NB?HOG<?LI@L?ACMN?L?>HIH =CNCT?HM              5B?HHIH =CNCT?HML?ACMN?LIL;=NO;FFSPIN? NB?S
CH4CLACHC;NBOM@;LC>?HNC@C?><SNBCMCHP?MNCA;NCIHCM       PCIF;N?<INBMN;N?;H>@?>?L;FMN;NON?M<?=;OM?
DOMNNB?ZNCJI@NB?C=?<?LA[ ==IL>CHANI               =CNCT?HMBCJCM;L?KOCL?G?HNNIPIN?CH<INBMN;N?
3HCN?>1N;N?"?HMOM?MNCG;N?M NB?L?;L?                       ;H>@?>?L;F?F?=NCIHM
;JJLIRCG;N?FS " HIH=CNCT?HMCH
NB?"IGGIHQ?;FNB $;=BI@NB?M?CH>CPC>O;FM=;H               2B?I@@?HM?M;@L;O>OF?HNPIN?LGCABN=IGGCN
G;E?NB?CLQ;SIHNINB?PINCHALIFFM<SMCGJFS                  QB?HB?L?ACMN?LM;H>PIN?M;L?HOG?LIOM
=B?=ECHANB?QLIHA<IR>OLCHA;PCMCNNINB?#,4

                                                                         "        
3FNCG;N?FS NB?HOG<?LI@CFF?A;FPIN?M>I?MHIN
G;NN?LQB?HNB?CHN?ALCNSI@NB?JLI=?MMCM;NMN;E?                       "LCGCH;FCT?M=;MNCHA;H
-IIH?MBIOF>NIF?L;N?PIN?L@L;O> QB?NB?LCN                                   CFF?A;F<;FFIN
=IG?MCHJI=E?NM;MQ?>?M=LC<?B?L?B;JJ?HM
I==;MCIH;FFSIL>?=C>?MNB?ION=IG?I@;H
?F?=NCIH                                                          ! !!! "
+;QF?MMH?MMCH?F?=NCIHMCM;JL?=OLMIL@ILNB?
M;G?;=LIMMIOLAIP?LHG?HN;H>=OFNOL?2B?                               "LCGCH;FCT?MPINCHA<SCFF?A;F
L?MJIHM?I@F;Q?H@IL=?G?HNI@@C=C;FMNI<INB                              ;FC?HMCH@?>?L;F?F?=NCIHM
MCHAF?CHMN;H=?MI@PIN?L@L;O>;H>NB?BOH>L?>MI@
?R;GJF?M>I=OG?HN?>CHNBCML?JILNMBIOF><?NB?
M;G?MQC@N MOL?;H>OHQ;P?LCHA                                   ! !!! "

                                                                      "LCGCH;FCT?ML?JL?M?HNCHAIH?M?F@
                  -IIH?MBIOF>NIF?L;N?PIN?L                          NI<?;3HCN?>1N;N?M=CNCT?H
                  @L;O>  QB?NB?L CN =IG?M CH
                  JI=E?NM;MQ?>?M=LC<?B?L?
                  B;JJ?HM I==;MCIH;FFS IL                        ! !!! "
                  >?=C>?M NB? ION=IG? I@ ;H
                  ?F?=NCIH                                            "LCGCH;FCT?M@;FM?MN;N?G?HNMCH
                                                                        IL>?LNIL?ACMN?LILPIN?CH;HS
                                                                       %?>?L;F 1N;N? ILFI=;F?F?=NCIH
2B?L?CMJF?HNSI@<F;G?NIAI;LIOH>.H?=OFJLCN
BIQ?P?L CMAF;LCHAFSI<PCIOMX@?>?L;F;H>MN;N?
PIN?LL?ACMNL;NCIH@ILGM QBC=B;MEL?ACMNL;HNMNI                 !    !!! "
;@@CLGNB?CL=CNCT?HMBCJQCNBHINBCHAGIL?NB;HNB?
=B?=EI@;<IR
                             2BCMCMHINBCHAGIL?                        "LCGCH;FCT?MNB?@L;O>OF?HN
NB;H;HBIHILMSMN?G IH?NB;NCMOHKO?MNCIH;<FS                        MO<GCMMCIHI@PIN?LL?ACMNL;NCIH
@;CFCHANIE??JHIH =CNCT?HM@LIGPINCHA.H=?NB?                      ;JJFC=;NCIHM;H>NB?@L;O>OF?HN
PIN?LCML?ACMN?L?> HI;>>CNCIH;F=B?=EM;L?G;>?                             =;MNCHAI@<;FFINM
;<IONNB?=CNCT?HMBCJMN;NOMI@NB?L?ACMNL;HN$;MCFS
I<N;CH?>JO<FC=CH@ILG;NCIHXMO=B;MDOLSL?=OM;F                2B?3HCN?>1N;N?M NNILH?S&?H?L;F;H>NB?F;Q
CH@ILG;NCIHMBIQCHAJ?LMIHMQBI?M=;J?DOLS>ONS                ?H@IL=?G?HNI@@C=?LMCHNB?"IGGIHQ?;FNBI@
<?=;OM?NB?S;L?HIN;=CNCT?HXCMCAHIL?>                     4CLACHC;;L? L?MJ?=NCP?FS ;ONBILCT?>NIJLIM?=ON?
                                                                PCIF;NCIHMI@;FFI@NB?M?MN;NON?M&CP?HNB;NNB?
2BCML?JILN>?GIHMNL;N?MNB?M?LCIOMJLI<F?GNB;N               CHN?ALCNSI@;H?F?=NCIHCMQB?L?NB?=IHM?HNI@NB?
&IP?LHIL,= OFC@@?;H>NB?"IGGIHQ?;FNBYM                       AIP?LH?>CMI<N;CH?> SIOQIOF>NBCHENB;N@?>?L;F
OH?F?=N?>I@@C=C;FMB;P?L?@OM?>NI;>>L?MM;H>                 ;H>MN;N??F?=NCIHI@@C=C;FMQIOF>NL?;NNB?M?
?P?HNLC?>NIBC>?(NCMIOLBIJ?NB;NNBCML?JILNQCFF        =LCG?MQCNB;JJLIJLC;N?M?LCIOMH?MM MQCFF<?
L?MOFNCHMQC@N=B;HA?MNB;NL?MNIL?=IH@C>?H=?CH              >CM=OMM?>F;N?LCHNBCML?JILN NB;NCMHINNB?=;M?
IOL?F?=NCIHM




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%2+:371<2/5+6//0/-<;37<2/"+<387+5(8</:$/13;<:+<387-<
2B?JLI<F?GMQCNBNB?PIN?LLIFFMCH4CLACHC;;H>
INB?LMN;N?M=;H<?NL;=?><;=ENI5CNBCH
GIHNBMI@;MMOGCHANB?/L?MC>?H=S !CFF"FCHNIH
MCAH?>CHNIF;QNB?-;NCIH;F4IN?L0?ACMNL;NCIH =N
 Z-40 [  ;MQ??JCHAJC?=?I@F?ACMF;NCIHNB;N
JLIJIH?HNM=F;CG?>QIOF>CH=L?;M?NB?HOG<?LI@
L?ACMN?L?>PIN?LM;H>J;LNC=CJ;NCIHCHIOL?F?=NCIHM
.H?NBCHACM@ILMOL?X>?@?=NMCHNB?F?ACMF;NCIH
;FMICH=L?;M?>NB?HOG<?LI@CH?FCAC<F?PIN?LMIH
MN;N?PIN?LLIFFM

2B?-40 =IGGIHFSEHIQH;MZ,INIL4IN?L [
L?KOCL?M?;=BMN;N?NII@@?LPIN?LL?ACMNL;NCIHNI;HS
CH>CPC>O;FNB;N;JJFC?M@IL;>LCP?LYMFC=?HM? 2BCM
JLIPCMCIHI@NB?F;QL?KOCL?MNB?;JJFC=;HNNIMQ?;L
NIBCMILB?L=CNCT?HMBCJOH>?LJ?H;FNSI@J?LDOLS 
<ON>I?MHINJ?LGCN HIL>?HS NB?MN;N?YM;<CFCNSNI
P?LC@S=CNCT?HMBCJNBLIOAB@ILG;F>I=OG?HN;NCIH
(HMN?;> NB?F;QJLIPC>?MNB;NNB?MN;N?MZG;S
L?KOCL?IHFSNB?GCHCGOG;GIOHNI@CH@ILG;NCIH
H?=?MM;LSNI?H;<F?1N;N??F?=NCIHI@@C=C;FMNI
                                                                                 %)%' ) ! &  %##%$(
;MM?MMNB??FCAC<CFCNSI@NB?;JJFC=;HN;H>NI
;>GCHCMN?LPIN?LL?ACMNL;NCIH;H>INB?LJ;LNMI@NB?
?F?=NCIHJLI=?MM[                                          /(+%@CF?>#! !   CH
                                                              ;FIH?NI@IL=??F?=NCIHI@@C=C;FMNI;FFIQCHMJ?=NCIH
                                                              I@NB?CL?F?=NCIHL?=IL>M

              4CLACHC; L?KOCL?M ;JJFC=;HNM NI
              G?L?FS =B?=E ; <IR CH IL>?L NI
              ZJLIP?[NB?CL=CNCT?HMBCJMN;NOM



  NN?GJNM<SP;LCIOMMN;N?MNIL?KOCL?L?ACMNL;HNMNI
JLIPC>?>I=OG?HN;LSJLII@I@=CNCT?HMBCJ>OLCHA
L?ACMNL;NCIH@IL@?>?L;F?F?=NCIHMB;P?<??H
NBQ;LN?><SF;QMOCNM<LIOABN<SF?@N F?;HCHA
ALIOJM4CLACHC;NB?L?@IL?L?KOCL?M;JJFC=;HNMNI
                     CHIL>?LNIZJLIP?[NB?CL
=CNCT?HMBCJMN;NOM2BCMB;MJLIP?HNI<?
CH;>?KO;N?

$F?=NCIHI@@C=C;FMGOMN;FMIZG;CHN;CH@IL;NF?;MN
S?;LM[;H>ZG;E?;P;CF;<F?@ILJO<FC=CHMJ?=NCIH[
Z;FFL?=IL>M=IH=?LHCHANB?CGJF?G?HN;NCIHI@
JLIAL;GM;H>;=NCPCNC?M=IH>O=N?>@ILNB?JOLJIM?
I@?HMOLCHANB?;==OL;=S;H>=OLL?H=SI@I@@C=C;F
FCMNMI@?FCAC<F?PIN?LM[ 




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                 JLIPC>?>;FCMNI@HIH =CNCT?HM
NB;NB;><??HL?GIP?>@LIGNB?PIN?LLIFFM
!?>@IL>"IOHNS;FMIJLIPC>?>=IJC?MI@HINC=?M
M?HNNICH>CPC>O;FMQBICH>C=;N?>IHNB?CL#,4
;JJFC=;NCIHMNB;NNB?SQ?L?HIN=CNCT?HM2B?
=IOHNSM?HN?;=BCH>CPC>O;F;-INC=?I@(HN?HNNI
";H=?F QBC=BCH@ILG?>NB?;JJFC=;HNNB;N
;FNBIOABNB?SCH>C=;N?>NB?SQ?L?HIN;=CNCT?HIH
NB?CL#,4;JJFC=;NCIH NB?CLL?ACMNL;NCIHQIOF>
L?G;CH;=NCP?C@NB?SMCGJFSMCAH?>NB?HINC=?
;@@CLGCHANB?SQ?L?;=CNCT?H

.@NB?MOMJ?=N?>HIH =CNCT?HM IHFSQ?L?
L?GIP?>2B?L?G;CHCHACH>CPC>O;FMQBIB;>
JL?PCIOMFSMQILHOH>?LJ?H;FNSI@J?LDOLSNINB?
#,4NB;NNB?SQ?L?HIN31=CNCT?HML?NOLH?>NB?
HINC=? MN;NCHANB?SQ?L?;31=CNCT?H;H>
NB?L?@IL?MN;S?>IHNB?L?ACMNL;NCIHLIFFM2B?
;@@CLG;NCIHHINC=?CMHINBCHAGIL?NB;H;HBIHIL
MSMN?GNB;N?;MCFS;FFIQMHIH =CNCT?HMNIL?G;CH
L?ACMN?L?>NIPIN? DOMNFCE?NB?CHCNC;F=CNCT?HMBCJ
=B?=E<IRIHNB?PIN?L@ILG

.H?Q??E;@N?LJLIPC>CHANB?FCMNI@L?ACMNL;HNM                   '% %')( %## (( %$' &')#$)% ") %$(
L?GIP?>@IL=CNCT?HMBCJJLI<F?GM !;L<;L;&OHN?L                                 %)%' ) %##%$,")% ' $ 
NB?A?H?L;FL?ACMNL;L@IL!?>@IL>"IOHNS
=IHN;=N?>/(+%<SJBIH?2B?4CLACHC;#?J;LNG?HN            2BCMMN;N? ?HACH??L?>MNIH?Q;FFCHAI==OLL?>IH
I@$F?=NCIHM=IHN;=N?>,M&OHN?L;H>NIF>B?LNB;N         NB??P?I@;@?>?L;F?F?=NCIHQB?L?NB?LIF?I@
MB?MBIOF>HINB;P?JLIPC>?>OMQCNBNB?FCMNI@            @IL?CAH?LMCHNB?3HCN?>1N;N?MQ;M;=?HNL;FCMMO?
L?GIP?>PIN?LM<?=;OM?>ICHAMIPCIF;N?MNB?                CHNB?/L?MC>?HNC;FL;=?"IP?LCHAOJNB?LIF?I@
%?>?L;F#LCP?LM/LCP;=S/LIN?=NCIH =N1B?;ME?>           @IL?CAH?LML?ACMN?LCHANIPIN?>C>;>CMM?LPC=?NI;
NB;N/(+%>?F?N?NB?FCMNI@JL?PCIOMFSJLIPC>?>            @OFF;H>NL;HMJ;L?HN>?<;N?I@NB?CMMO?M
JO<FC=CH@ILG;NCIH MQ?MB;FFM?? ;@?>?L;F=IOLN
@IOH>HIG?LCNCHNB?;NN?GJNNIBC>??F?=NCIH              $>A;L>I"ILN?M NB?"IGGCMMCIH?LI@NB?4CLACHC;
L?=IL>M<;M?>IH;@?>?L;FBCABQ;SF;Q                    #?J;LNG?HNI@$F?=NCIHM ;H>;H;JJICHN??I@
                                                            &IP?LHIL,= OFC@@? CHMNLO=N?>FI=;F?F?=NCIH
                  ;=N?>MCGCF;LFS                        I@@C=C;FMNIMNIH?Q;FFIOLL?KO?MNM@ILJO<FC=
                                                            CH@ILG;NCIH;<ION;FC?HPINCHAQCNB;F?A;FFS
                                                            G?LCNF?MM?R=OM?-OG?LIOM=IOHNS?F?=NCIH
                                                            I@@C=C;FM=IH@CLG?>NI/(+%NB;N"IGGCMMCIH?L
           +CE?!?>@IL>"IOHNS ,M1NIE?M                "ILN?MB;>CMMO?>AOC>;H=?NINB?G CHMNLO=NCHA
?RJF;CH?>NB;NB?LL?KO?MNNI>?MNLISJO<FC=                NB?GHINNIL?MJIH>NIIOLL?KO?MNM@ILL?=IL>M
?F?=NCIHCH@ILG;NCIHILCACH;N?>QCNBNB?4CLACHC;           J?LN;CHCHANIHIH =CNCT?HPIN?LM1IG??F?=NCIH
#?J;LNG?HNI@$F?=NCIHM                                   I@@C=C;FMECH>FSJLIPC>?>OMNB?ILCACH;F
                                                            =IGGOHC=;NCIHM@LIG"ILN?M>CL?=NCHANB?
  @N?LNB?4CLACHC;#?J;LNG?HNI@$F?=NCIHMJOMB?>          MNIH?Q;FFCHA
NB?G?LCNF?MM=F;CGNB;N@?>?L;FBCABQ;SF;Q
JL?P?HN?>OM@LIGM??CHANB?FCMNI@NBIM?L?GIP?>          2BCMCMQB;N;=IP?L OJI@;FC?HPINCHAFIIEMFCE?
@LIGNB?PIN?LLIFFM@IL=CNCT?HMBCJJLI<F?GM NB?
JLI>O=NCIHI@L?=IL>M<SFI=;FI@@C=C;FM?@@?=NCP?FS
MNIJJ?>.P?LNB?=IOLM?I@ OAOMN;H>
1?JN?G<?L L?MJIHM?M@LIG?F?=NCIHI@@C=C;FM
LIFF?>CH 




                                                        
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"IGGCMMCIH?L"ILN?MYCHMNLO=NCIHMNIMNIH?Q;FFIOL            ';;E?Q;MOH;<;MB?>;<IONBCMHIH =IGJFC;H=?
L?KO?MNM@ILJO<FC=?F?=NCIHCH@ILG;NCIHQ;M                  QCNB/(+%YML?KO?MN@ILL?ACMNL;NCIHL?=IL>M#OLCHA
>CMNLC<ON?>MN;N?QC>?NIFI=;F?F?=NCIHI@@C=C;FMIH          ;JO<FC=B?;LCHA<?@IL?;DICHNM?MMCIHI@NB?
  OAOMN  6?NHINOHNCF1?JN?G<?L>C>            /LCPCF?A?M;H>$F?=NCIHM"IGGCNN??MI@NB?4CLACHC;
"IGGCMMCIH?L"ILN?M=IHN;=N/(+%(HBCM                      &?H?L;F MM?G<FSIH.=NI<?L  ;NQBC=B
=ILL?MJIH>?H=? "IGGCMMCIH?L"ILN?MI@@?L?>NI                /(+%L?JL?M?HN;NCP?MQ?L?CHPCN?>NIMJ?;E ';;E?
JLIPC>?;Z=OMNIGCT?>L?JILN[;N;=IMNI@ ;           N?MNC@C?>NB;NB?>?FC<?L;N?FS>C>HINJLIPC>?/(+%
L?JILNNB;NB?=F;CG?>QIOF>M;NCM@SIOLL?KO?MN              QCNBNB?L?KO?MN?>L?=IL>M'CM>?@C;H=?F;H>?>
=IH=?LHCHAHIH =CNCT?HM(N>C>HYN=IG?=FIM?NI             BCGCH@?>?L;F=IOLN
L?MJIH>CHANIIOLL?KO?MNM>?N;CFCHANB?H;G?MI@
;FC?HML?GIP?>@LIGNB?PIN?LLIFFM@IL=CNCT?HMBCJ           ';;E?;H>0??>GIP?>NI>CMGCMM/(+%YMF;QMOCNM
JLI<F?GM                                                    ;LAOCHA ;NNB?<?B?MNI@"IGGCMMCIH?L"ILN?M
                                                              NB;NNB?#// MBC?F>?>NB?CLL?=IL>M@LIGJO<FC=
                                                              >CM=FIMOL?(H;NQI J;A?>?=CMCIH NB?@?>?L;F
                                                             =IOLNMQC@NFSL?D?=N?>NBCM?R=OM? @CH>CHANB;NZNB?
                                                             #// >I?MHIN;JJFSNI>CM=FIMOL?I@NB?PIN?L
            '?FCE?QCM?L?@OM?>NIJLIPC>?NB?               CH@ILG;NCIHL?KO?MN?><SNB?/F;CHNC@@[ 
PINCHABCMNILSI@L?ACMNL;HNML?GIP?>@LIGNB?LIFFM
@IL=CNCT?HMBCJJLI<F?GM L?CN?L;NCHABCMJIMCNCIH            ';;E?>C>HINN;E?BCM>?@?;NCHMNLC>?(H;H?G;CF
NB;NMO=BCH@ILG;NCIHCMHINMO<D?=NNIL?F?;M?               QLCNN?HIHNB?ZI@@C=C;F=IGGOHC=;NCIHFCMN@ILNB?
OH>?LNB?-40 YMJO<FC=CHMJ?=NCIHJLIPCMCIH <ON             &?H?L;F0?ACMNL;LMI@NB?"IGGIHQ?;FNB [';;E?
CM;P;CF;<F?IHFSNIZKO;FC@C?>?HNCNC?M[OH>?LFCGCN?>       L?@?LL?>NI/O<FC=(HN?L?MN+?A;F%IOH>;NCIH
=CL=OGMN;H=?M                                               ;NNILH?SM;MZFIQFC@?M[ .H?GIHNBF;N?L ';;E?
                                                              ;HHIOH=?>B?Q;ML?NCLCHA 
"ILN?M>C>HINJLIPC>?;FCMNI@L?ACMNL;HNML?GIP?>
@IL=CNCT?HMBCJJLI<F?GM;=LIMMNB?                           5CNB;=IOLNIL>?LCHB;H> /(+%L?H?Q?>CNM
"IGGIHQ?;FNBOHNCF,;L=B  H?;LFS?CABN               L?KO?MNNINB?1N;N?#?J;LNG?HNI@$F?=NCIHM@IL
GIHNBM;@N?L/(+%@CLMNG;>?;<LI;>L?KO?MNNI               HIH =CNCT?HL?ACMNL;NCIHL?=IL>M@IL;FFI@
=IOHNC?MIH OAOMN "ILN?M>C>NBCMIHFS              4CLACHC;YMPINCHADOLCM>C=NCIHM Q??EF;N?L
;@N?LNB?3HCN?>1N;N?M#CMNLC=N"IOLNQBIFFS                 "IGGCMMCIH?L"ILN?MJLIPC>?>NB?>;N;
L?D?=N?>NB?@FCGMS?R=OM?@IL@;CFCHANIJLIPC>?NB?
>;N;XNB;N@?>?L;FBCABQ;SF;QMG;>?CNJLCP;N?
                                                                  (H ;H ?G;CF QLCNN?H IH NB? ZI@@C=C;F
&2/@-=;/;08:3.371                                            =IGGOHC=;NCIH FCMN @IL NB? &?H?L;F
                                                                  0?ACMNL;LM I@ NB? "IGGIHQ?;FNB [
708:6+<38787"87 -3<3B/7;                                       ';;E?L?@?LL?>NI/O<FC=(HN?L?MN+?A;F
                                                                  %IOH>;NCIH;NNILH?SM;MZFIQFC@?M[
"IGGCMMCIH?L"ILN?MNIF>FI=;F?F?=NCIHI@@C=C;FM
NB;N;FCMNI@L?ACMNL;HNML?GIP?>@LIG4CLACHC;YM
L?ACMNL;NCIHFCMNM@IL=CNCT?HMBCJJLI<F?GM=;HHIN<?         "IGGCMMCIH"ILN?MYAOC>;H=?;FMI>CL?=N?>
JLIPC>?>NINB?JO<FC=<?=;OM?MO=BCH@ILG;NCIHCM            FI=;F?F?=NCIHI@@C=C;FMNI=IH=?;FL?=IL>MMBIQCHA
JLIN?=N?>@LIGL?F?;M?<SNB?@?>?L;F#LCP?LYM                NB?PINCHABCMNILSI@;HSCH>CPC>O;FQBIM?
/LCP;=S/LIN?=NCIH =N #//  @?>?L;F=IOLN                 L?ACMNL;NCIHQ;M=;H=?FF?>@IL %L?;MIHM
L?D?=N?>NBCMHIHM?HMC=;F?R=OM?                           ==IL>CHANI"IGGCMMCIH?L"ILN?M >I=OG?HNM
                                                              =IH=?LHCHAPINCHA;=NCPCNS;L?HIN=IP?L?>OH>?L
2B?#// G;E?MCNZOHF;Q@OF@IL;HSJ?LMIH                    NB?-40 YMJO<FC=CHMJ?=NCIHJLIPCMCIH;H>=;H
EHIQCHAFSNII<N;CHIL>CM=FIM?J?LMIH;F                      IHFS<?>CM=FIM?>JO<FC=FS;MJ?LGCNN?><S
CH@ILG;NCIH @LIG;GINILP?BC=F?L?=IL> @IL;HS             "IGGIHQ?;FNBF;Q QBC=BJ?LGCNM>CM=FIMOL? ;N;
OM?HINJ?LGCNN?>[<SIH?I@@IOLN??H?R=?JNCIHM              L?;MIH;<F?=IMN IHFSNI;FCMNI@KO;FC@C?>?HNCNC?M
NINB?JLIBC<CNCIHIH>CM=FIMOL? 2B?F;QB;M
HINBCHANI>IQCNB?F?=NCIHMIL?F?=NCIHL?=IL>M             (HNB??H> NB?MN;N?I@@C=C;FM=IOF>HIN=IH=?;FNB?
5CNBHIINB?LL?=IOLM? /(+%MO?>NQI>?@C;HNFI=;F           ?RN?HNI@;FC?HPINCHA<?=;OM?/(+%;H>44
?F?=NCIHI@@C=C;FM +;LLS';;E? NB?H A?H?L;F                 QILE?>QCNB;NBCL>J;LNSQCNB;==?MMNIPIN?L
L?ACMNL;L@IL"B?MN?L@C?F>"IOHNS ;H>1OM;H0??>             BCMNILSNI>?N?LGCH?QBC=BI@NB?;FC?HMQBI
A?H?L;FL?ACMNL;L@ILNB?"CNSI@,;H;MM;M                   L?ACMN?L?>NIPIN? ;=NO;FFSPIN?>-INMOLJLCMCHAFS
                                                              G;HS<;FFINMQ?L?=;MN<SNB?M?;FC?HM




                                                          
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         &2/@</7<80"87 -3<3B/7$/13;<:+<38737(3:1373+
  @N?L?CABNGIHNBMI@JBIH?M=;FFM ?F?=NCIHI@@C=?         2BCM>;N;CM<ON;MH;JMBINI@NB?JLI<F?G
PCMCNM ;H>@?>?L;FFCNCA;NCIH /(+%B;MI<N;CH?>
L?=IL>MMBIQCHANB?=OLL?HNFS ;==IOHN?> @IL
?RN?HNI@HIH =CNCT?HL?ACMNL;NCIH;H>PINCHACH
4CLACHC;(NQ;M HIN?;MS >?MJCN?NB?@;=NNB;N
@?>?L;FF;QL?KOCL?MMCAHC@C=;HNF?P?FMI@
NL;HMJ;L?H=S@LIG?F?=NCIHI@@C=C;FM                              2B?NIN;FHOG<?LI@HIH =CNCT?HMNB;N
                                                             L?G;CHL?ACMN?L?>NIPIN?NB?L?@IL?=;HHIN<?
2B?CH@ILG;NCIHQ?B;P?<??H;<F?NIA;NB?L                  =IGJF?N?FS;M=?LN;CH?>'IQ?P?L CNCM?MNCG;N?>
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?F?=NCIHI@@C=C;FMJL?P?HN?>/(+%@LIGI<N;CHCHA            L?G;CHL?ACMN?L?>;H>;<F?NIPIN?NBLIOABIONNB?
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L?ACMNL;HNMQCNB=CNCT?HMBCJJLI<F?GMQBIQ?L?
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